Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 1 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 2 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 3 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 4 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 5 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 6 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 7 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 8 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 9 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 10 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 11 of 12




                                                              Exhibit A
Case 6:21-cv-01200-JWB-GEB Document 1-1 Filed 08/18/21 Page 12 of 12




                                                              Exhibit A
